                                    CRIMINAL CASE COVER SHEET

By:          CJINDICTMENT     i::::::JSUPERSEDING Case Number:
             C2JINFORMATION (Requires AO 455 Waiver ofIndictment for Felony Cases)
             ORULE20

USA v. JAMES C. THOMPSON

[l]Felony □Class A Misdemeanor (A086A Consent form required at Initial Appearance)
DMisdemeanor (Not class A)        □ Petty Offense
                                                              Immigration Cases
     □Defendant is being added to existing criminal case  □ Zone A          DZoneB
     □Charges/Counts Added

            . d AUSA : James T. Brooks
N ame ofA ss1gne

Matter Sealed:          DYES             [Z]NO                     Place of Offiense: Hamilton County

       D Interpreter Required        Language:

Issue:         □WARRANT                  □ SUMMONS                     □ WRIT (Motion to be filed)


Arresting Agency:        □DEA □ ATF □ USMS                   [Z]FBI D Other:

Current Trial Date (if any):                                        before Judge

       □ Criminal Complaint Filed                       Case Number:

       □Defendant on Supervised Release                 Case Number:

Related Case/Attorney:
                 1:24-cr-56                               Lee Davis
Case Number                                  Attorney
                               . t·
Reason £or R e1ated Case Determma     Factually identical to charges in Indictment
                                  10n

Defense Counsel (if any):            Lee Davis

              □ Federal Defender                   □ CJA               @Retained

          Appointed by Target Letter                    Case Number:
          Appointed in Pending Indictment               Case Number:


CHARGES:                                                      4
                   Total # of Counts for this Defendant - - - - - - -

           Title & Section        Description of Offense Charged         New       New           Old
                                                                         Count?    Count         Count#
                                                                         YorN      #
 1-4        18 U.S.C. § 2423(a)         Transportation of Minors             N                          1-3




                                    (Attach additional page, if needed)


                                                               Attorney Signature _ _ _ _ _ _ _ _ _ __
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